Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 1 of 71 PagelD #: 2129

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 2 of 71 PagelD #: 2130

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 3 of 71 PagelD #: 2131

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 4 of 71 PagelD #: 2132

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 5 of 71 PagelD #: 2133

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 6 of 71 PagelD #: 2134

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 7 of 71 PagelD #: 2135

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 8 of 71 PagelD #: 2136

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 9 of 71 PagelD #: 2137

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 10 of 71 PagelD #: 2138

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 11 of 71 PagelD #: 2139

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 12 of 71 PagelD #: 2140

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 13 of 71 PagelD #: 2141

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 14 of 71 PagelD #: 2142

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 15 of 71 PagelD #: 2143

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 16 of 71 PagelD #: 2144

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 17 of 71 PagelD #: 2145

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 18 of 71 PagelD #: 2146

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 19 of 71 PagelD #: 2147

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 20 of 71 PagelD #: 2148

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 21 of 71 PagelD #: 2149

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 22 of 71 PagelD #: 2150

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 23 of 71 PagelD #: 2151

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 24 of 71 PagelD #: 2152

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 25 of 71 PagelD #: 2153

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 26 of 71 PagelD #: 2154

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 27 of 71 PagelD #: 2155

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 28 of 71 PagelD #: 2156

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 29 of 71 PagelD #: 2157

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 30 of 71 PagelD #: 2158

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 31 of 71 PagelD #: 2159

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 32 of 71 PagelD #: 2160

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 33 of 71 PagelD #: 2161

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 34 of 71 PagelD #: 2162

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 35 of 71 PagelD #: 2163

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 36 of 71 PagelD #: 2164

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 37 of 71 PagelD #: 2165

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 38 of 71 PagelD #: 2166

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 39 of 71 PagelD #: 2167

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 40 of 71 PagelD #: 2168

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 41 of 71 PagelD #: 2169

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 42 of 71 PagelD #: 2170

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 43 of 71 PagelD #: 2171

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 44 of 71 PagelD #: 2172

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 45 of 71 PagelD #: 2173

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 46 of 71 PagelD #: 2174

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 47 of 71 PagelD #: 2175

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 48 of 71 PagelD #: 2176

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 49 of 71 PagelD #: 2177

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 50 of 71 PagelD #: 2178

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 51 of 71 PagelD #: 2179

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 52 of 71 PagelD #: 2180

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 53 of 71 PagelD #: 2181

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 54 of 71 PagelD #: 2182

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 55 of 71 PagelD #: 2183

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 56 of 71 PagelD #: 2184

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 57 of 71 PagelD #: 2185

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 58 of 71 PagelD #: 2186

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 59 of 71 PagelD #: 2187

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 60 of 71 PagelD #: 2188

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 61 of 71 PagelD #: 2189

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 62 of 71 PagelD #: 2190

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 63 of 71 PagelD #: 2191

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 64 of 71 PagelD #: 2192

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 65 of 71 PagelD #: 2193

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 66 of 71 PagelID #: 2194

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 67 of 71 PagelD #: 2195

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 68 of 71 PagelD #: 2196

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 69 of 71 PagelD #: 2197

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 70 of 71 PagelD #: 2198

 
Case: 4:18-cv-01283-SRC Doc. #: 109-2 Filed: 03/09/21 Page: 71 of 71 PagelD #: 2199

 
